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 1   PAUL J. RIEHLE (SBN 115199)
     paul.riehle@faegredrinker.com
 2   FAEGRE DRINKER BIDDLE & REATH
     LLP
 3   Four Embarcadero Center, 27th Floor
 4   San Francisco, CA 94111
     Telephone: (415) 591-7500
 5   Facsimile: (415) 591-7510

 6   CHRISTINE A. VARNEY (pro hac vice)
     cvarney@cravath.com
 7   KATHERINE B. FORREST (pro hac vice)
     kforrest@cravath.com
 8   GARY A. BORNSTEIN (pro hac vice)
     gbornstein@cravath.com
 9   YONATAN EVEN (pro hac vice)
     yeven@cravath.com
10   LAUREN A. MOSKOWITZ (pro hac vice)
     lmoskowitz@cravath.com
11   M. BRENT BYARS (pro hac vice)
     mbyars@cravath.com
12   CRAVATH, SWAINE & MOORE LLP
     825 Eighth Avenue
13   New York, New York 10019
14   Telephone: (212) 474-1000
     Facsimile: (212) 474-3700
15
     Attorneys for Plaintiff and Counter-defendant
16   Epic Games, Inc.

17
                               UNITED STATES DISTRICT COURT
18
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19
                                        OAKLAND DIVISION
20
21    EPIC GAMES, INC.,                    )         Case No. 4:20-cv-05640-YGR-TSH
                                           )
22
             Plaintiff, Counter-defendant, )         EPIC GAMES, INC.’S
                                           )         TENTATIVE TRIAL WITNESS LIST
23
                    v.                     )
24                                         )         The Honorable Yvonne Gonzalez Rogers
      APPLE INC.,                          )
25                                         )         Trial: May 3, 2021
26            Defendant, Counterclaimant. )
                                           )
27
28

                     EPIC GAMES, INC.’S TENTATIVE TRIAL WITNESS LIST
                              Case No. 4:20-cv-05640-YGR-TSH
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 1          Pursuant to Pretrial Order No. 1 (ECF No. 371) and the Court’s Standing Order re: Pretrial
 2   Instructions in Civil Cases, Plaintiff and Counter-Defendant Epic Games, Inc. (“Epic”) files its
 3   tentative list of trial witnesses, other than for impeachment or additional rebuttal, reserving its
 4   rights to supplement or amend its list for good cause or in response to revisions by Apple Inc.
 5   (“Apple”) to Apple’s witness list and other pre-trial disclosures. Epic also reserves the right to
 6   substitute deposition designations for live testimony, and vice versa, including based on the
 7   availability or non-availability of any witness to appear at trial. Attached hereto as Exhibits 1 to
 8   18 are the curricula vitae of Epic’s expert witnesses and summaries of their opinions, redacted for
 9   information designated by Apple under the Amended Protective Order (ECF No. 274).
10   DATE: March 19, 2021                           CRAVATH, SWAINE & MOORE LLP
11                                                  /s/   Katherine B. Forrest
                                                          Katherine B. Forrest
12
                                                    FAEGRE DRINKER BIDDLE & REATH LLP
13                                                  PAUL J. RIEHLE (SBN 115199)
                                                    Four Embarcadero Center, 27th Floor
14                                                  San Francisco, CA 94111
15                                                  Telephone: (415) 591-7500
                                                    Facsimile: (415) 591-7510
16                                                  paul.riehle@faegredrinker.com

17                                                  CRAVATH, SWAINE & MOORE LLP
                                                    CHRISTINE A. VARNEY (pro hac vice)
18                                                  KATHERINE B. FORREST (pro hac vice)
                                                    GARY A. BORNSTEIN (pro hac vice)
19                                                  YONATAN EVEN (pro hac vice)
                                                    LAUREN A. MOSKOWITZ (pro hac vice)
20                                                  M. BRENT BYARS (pro hac vice)
                                                    825 Eighth Avenue
21                                                  New York, New York 10019
                                                    Telephone: (212) 474-1000
22                                                  Facsimile: (212) 474-3700
                                                    cvarney@cravath.com
23                                                  kforrest@cravath.com
                                                    gbornstein@cravath.com
24                                                  yeven@cravath.com
25                                                  lmoskowitz@cravath.com
                                                    mbyars@cravath.com
26
                                                    Attorneys for Plaintiff and Counter-defendant
27                                                  Epic Games, Inc.

28

                       EPIC GAMES, INC.’S TENTATIVE TRIAL WITNESS LIST
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                                                                Fact Witnesses
 1
 2   Witness                 Epic’s Brief Statement of            Estimated      Estimated         Estimated     Appearance
                             Substance of Testimony               Length of      Length of         Length of
 3                                                                Direct         Cross-            Re-Direct
 4                                                                Examination    Examination       Examination

 5                                                              Epic Witnesses

 6   Steve Allison,          Epic Games Store (business)          30 minutes     45 minutes        10 minutes    Live, in person
     General Manager,
 7
     Epic Games Store
 8
     Andrew Grant,           Epic’s membership in the Apple       1 hour         30 minutes        10 minutes    Live, in person
 9   Engineering Fellow*     Developer Program; engineering
                             and development of Epic’s
10                           products for various platforms;
11                           Epic Direct Payment on iOS

12   Thomas Ko, Senior       Epic’s payment processing            30 minutes     1 hour            15 minutes    Live, in person
     Director, Head of       services; Apple’s payment
13   Online Business         processing services; Epic Direct
14   Strategy and            Payment on iOS
     Operations
15
     Joseph Kreiner, Vice    Epic Games Store (business);         30 minutes     1 hour            20 minutes    Live, in person or
16   President of Business   Epic’s business relationships                                                       may request leave
17   Development             with console partners                                                               to appear remotely

18                                         (* Primary witness and not included as precautionary)
19
20
                                           EPIC GAMES, INC.’S TENTATIVE WITNESS LIST
21                                                Case No. 4:20-cv-05640-YGR-TSH
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22
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     Witness                  Epic’s Brief Statement of            Estimated         Estimated         Estimated         Appearance
 1
                              Substance of Testimony               Length of         Length of         Length of
 2                                                                 Direct            Cross-            Re-Direct
                                                                   Examination       Examination       Examination
 3
     Tim Sweeney,             Epic’s history and business;         4 hours           3 hours           40 minutes        Live, in person
 4
     Founder and Chief        Epic’s business discussions with
 5   Executive Officer*       Apple and Google; Epic Direct
                              Payment on iOS; App Store
 6                            policies and practices; Epic’s
                              marketing and promotional
 7
                              activities; Epic’s efforts to
 8                            compete in app distribution and
                              in-app payment processing
 9
     Matthew Weissinger,      Epic’s marketing and              1 hour               1 hour            15 minutes        Live, in person
10
     Vice President,          promotional activities; marketing
11   Marketing*               and promotional support services
                              offered by video game consoles
12                            and mobile operating system
                              providers, including Apple
13
14   Document custodian 1     Admission of business records        5 minutes                                             Live, in person or
                              and other documents in Epic’s                                                              may request leave
15                            possession, as necessary                                                                   to appear
                                                                                                                         remotely.
16
17
     ____________________________
18   1
       Epic expects that the parties will meet and confer regarding, and potentially stipulate to, the admission of business records and other
19   documents, but Epic reserves its right to call witnesses to support the admission of business records and other documents, if
     necessary.
20
                                         EPIC GAMES, INC.’S TENTATIVE TRIAL WITNESS LIST
21                                                Case No. 4:20-cv-05640-YGR-TSH
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     Witness                Epic’s Brief Statement of        Estimated      Estimated     Estimated     Appearance
 1
                            Substance of Testimony           Length of      Length of     Length of
 2                                                           Direct         Cross-        Re-Direct
                                                             Examination    Examination   Examination
 3
                                                          Apple Witnesses
 4
 5   Matt Fischer, Vice     App Store business strategy; App 1 hour and     1 hour        30 minutes    Live, in person or
     President, App Store   Store financial performance;      30 minutes                                by Deposition
 6                          App Store policies and practices;                                           Designation
                            Apple’s market power over iOS
 7
                            developers; and/or the subjects
 8                          of designated testimony

 9   Trystan Kosmynka,      App Store review policies and     45 minutes    2 hours       30 minutes    Live, in person or
     Senior Director, App   practices; iOS and macOS                                                    by Deposition
10   Review                 engineering, security and privacy                                           Designation
11                          issues; and/or the subjects of
                            designated testimony
12
     Michael Schmid,        App Store business strategy; App 20 minutes     1 hour        10 minutes    Live, in person
13   Head of Games          Store policies and practices;
14   Business               Apple’s market power over iOS
     Development, App       developers; differences between
15   Store                  gaming on mobile and other
                            platforms; allegations about
16                          Epic, including Epic’s
17                          relationship with Apple and
                            other platform providers
18
19
20
                                     EPIC GAMES, INC.’S TENTATIVE TRIAL WITNESS LIST
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     Witness                  Epic’s Brief Statement of           Estimated         Estimated         Estimated        Appearance
 1
                              Substance of Testimony              Length of         Length of         Length of
 2                                                                Direct            Cross-            Re-Direct
                                                                  Examination       Examination       Examination
 3
     Document custodian       Admission of business records       5 minutes                                            Live
 4
                              and other documents in Apple’s
 5                            possession, as necessary

 6   Eddy Cue, Senior         The subjects of designated          1 hour 2          10 minutes                         Deposition
     Vice President,          testimony, which include: lack                                                           Designation
 7
     Internet Software and    of competition among mobile
 8   Services                 devices and mobile operating
                              system software; App Store
 9                            business strategy; App Store
                              financial performance; current
10
                              and historical App Store policies
11                            and practices; Apple’s prior
                              antitrust violations
12
     Craig Federighi,         The subjects of designated        30 minutes          5 minutes                          Deposition
13
     Senior Vice              testimony, which include: iOS                                                            Designation
14   President, Software      and macOS engineering,
     Engineering              security, privacy and competition
15                            issues; App Store policies and
                              practices
16
17
18
     ____________________________
     2
19     Epic expects the length of direct examination for witnesses that Epic calls by deposition designation to be cut by approximately
     50% to the extent that Epic is not required to play deposition testimony that is simply for the purpose of sponsoring a document.
20
                                        EPIC GAMES, INC.’S TENTATIVE TRIAL WITNESS LIST
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     Witness                  Epic’s Brief Statement of           Estimated     Estimated     Estimated     Appearance
 1
                              Substance of Testimony              Length of     Length of     Length of
 2                                                                Direct        Cross-        Re-Direct
                                                                  Examination   Examination   Examination
 3
     Scott Forstall, Senior   The subjects of designated        1 hour          10 minutes                  Deposition
 4
     Vice President, iOS      testimony, which include: iOS                                                 Designation
 5   Software (former)        and macOS engineering,
                              security, privacy and competition
 6                            issues; historical App Store
                              policies and practices; Apple’s
 7
                              in-app purchasing function
 8
     Eric Friedman, Head      The subjects of designated          30 minutes    5 minutes                   Deposition
 9   of Fraud Engineering,    testimony, which include: App                                                 Designation
     Algorithms, and Risk     Store review process; fraud and
10
                              other abuse in Apple’s
11                            ecosystem

12   Eric Gray, Director,     The subjects of designated          45 minutes    5 minutes                   Deposition
     Commerce,                testimony, which include:                                                     Designation
13
     Subscriptions &          inefficiencies and lack of
14   Pricing                  integration of Apple’s payment
                              processing services; app pricing
15                            and inelasticity of demand; fraud
                              and other abuse in Apple’s
16
                              ecosystem
17
18
19
20
                                        EPIC GAMES, INC.’S TENTATIVE TRIAL WITNESS LIST
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     Witness                Epic’s Brief Statement of        Estimated     Estimated     Estimated     Appearance
 1
                            Substance of Testimony           Length of     Length of     Length of
 2                                                           Direct        Cross-        Re-Direct
                                                             Examination   Examination   Examination
 3
     C.K. Haun, Senior      The subjects of designated        45 minutes   5 minutes                   Deposition
 4
     Director, Developer    testimony, which include: App                                              Designation
 5   Technical Services     Store review policies and
                            practices; iOS and macOS
 6                          engineering, security and privacy
                            issues
 7
 8   Ron Okamoto, Vice      The subjects of designated       15 minutes    5 minutes                   Deposition
     President, Worldwide   testimony, which include:                                                  Designation
 9   Developer Relations    benefits Apple receives from
     (former)               other software developers,
10
                            including Epic; Apple’s market
11                          power over iOS developers

12   Carson Oliver,         The subjects of designated       10 minutes    5 minutes                   Deposition
     Director of Business   testimony, which include: App                                              Designation
13
     Management, App        Store policies and practices;
14   Store                  Apple’s market power over iOS
                            developers
15
     Shaan Pruden, Senior   The subjects of designated        15 minutes   5 minutes                   Deposition
16   Director of            testimony, which include:                                                  Designation
17   Partnership            benefits that Apple receives from
     Management and         other software developers,
18   Worldwide Developer    including Epic
     Relations
19
20
                                     EPIC GAMES, INC.’S TENTATIVE TRIAL WITNESS LIST
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     Witness                Epic’s Brief Statement of          Estimated      Estimated     Estimated     Appearance
 1
                            Substance of Testimony             Length of      Length of     Length of
 2                                                             Direct         Cross-        Re-Direct
                                                               Examination    Examination   Examination
 3
     Mark Rollins,          The subjects of designated         10 minutes                                 Deposition
 4
     Finance Manager        testimony, which include: Apple                                               Designation
 5                          financials; App Store profit and
                            loss statements
 6
     Phillip Shoemaker,     The subjects of designated         45 minutes                                 Deposition
 7
     Technology Director,   testimony, which include:                                                     Designation
 8   App Review (former)    historical App Store review
                            policies and practices
 9
                                                          Third-Party Witnesses
10
11   Vivek Sharma, Vice     App distribution; Apple            45 minutes     1 hour        15 minutes    Mr. Sharma is
     President, Gaming,     restrictions on iOS app                                                       expected to request
12   Facebook, Inc.*        distribution; App Store review                                                to appear
                            process; interactions with Apple                                              remotely.
13
14   Lori Wright, Vice      Distribution of software; Xbox     90 minutes     1.5 hour      20 minutes    Intends to appear
     President, Xbox        video game console business and                                               live and in person,
15   Business               operations; Xbox cloud gaming,                                                but may request
     Development,           including xCloud and Game                                                     leave to appear
16   Microsoft              Pass; interactions with Apple                                                 remotely.
17   Corporation*

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                                      EPIC GAMES, INC.’S TENTATIVE TRIAL WITNESS LIST
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     Witness                  Epic’s Brief Statement of            Estimated         Estimated         Estimated         Appearance
 1
                              Substance of Testimony               Length of         Length of         Length of
 2                                                                 Direct            Cross-            Re-Direct
                                                                   Examination       Examination       Examination
 3
     Benjamin Simon,          App distribution; participation in   45 minutes        30 minutes        10 minutes        Intends to appear
 4
     Founder and Chief        the Apple Developer Program;                                                               live and in person,
 5   Executive Officer,       App Store review process;                                                                  but may request
     Yoga Buddhi Co.*         interactions with Apple                                                                    leave to appear
 6                                                                                                                       remotely.
 7
     Shelley Gould,           App distribution; participation in   30 minutes        30 minutes        10 minutes        Intends to appear
 8   President, Co-           the Apple Developer Program;                                                               live and in person,
     Founder, Neuro-Fin       App Store review process;                                                                  but may request
 9   Inc. d/b/a               interactions with Apple                                                                    leave to appear
     SmartStops*                                                                                                         remotely.
10
11
     Aashish Patel,           App distribution; Nvidia’s            45 minutes        45 minutes        10 minutes        Live or by
12   Director of Product      GeForce Now service and                                                                     Deposition
     Management,              business model; differences                                                                 Designation. If
13
     Nvidia Corporation*      between streamed apps and                                                                   appearing live,
14                            locally hosted apps; differences                                                            Mr. Patel may
                              between native apps and web                                                                 request leave to
15                            apps; App Store review process;                                                             appear remotely. 3
                              interactions with Apple; and/or
16
     ____________________________
17   3
       Mr. Patel confirmed at his deposition that he is within the Court’s trial subpoena power and, therefore, is available to testify live,
     making deposition designations inadmissible absent stipulation of the parties, given Mr. Patel’s status as a third party. Epic is willing
18
     to meet and confer with Apple regarding the parties potentially stipulating to the presentation of Mr. Patel’s testimony by
19   designation. For the avoidance of doubt, Epic reserves the right to call Mr. Patel live and to object to Apple’s introduction of
     designations from Mr. Patel’s deposition in the event the parties cannot reach such an agreement.
20
                                         EPIC GAMES, INC.’S TENTATIVE TRIAL WITNESS LIST
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     Witness              Epic’s Brief Statement of            Estimated     Estimated     Estimated     Appearance
 1
                          Substance of Testimony               Length of     Length of     Length of
 2                                                             Direct        Cross-        Re-Direct
                                                               Examination   Examination   Examination
 3
                          the subjects of designated
 4
                          testimony
 5
     Adrian Ong, Senior   The subjects of designated           45 minutes    5 minutes                   Deposition
 6   Vice President of    testimony, which include: App                                                  Designation
     Operations, Match    distribution; participation in the
 7
     Group*               Apple Developer Program; App
 8                        Store review process;
                          interactions with Apple;
 9                        differences between native apps
                          and web experiences; Match
10
                          Group’s payment processing
11                        capabilities; effects of Apple’s
                          30% fee on Match Group and its
12                        users; user acquisition
13
14
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20
                                    EPIC GAMES, INC.’S TENTATIVE TRIAL WITNESS LIST
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                                                               Expert Witnesses
 1
 2
            Witness               Summary of Theory and             Estimated          Estimated     Estimated        Appearance
 3                                 Conclusions and Bases            Length of          Length of    Length of Re-
                                     Therefor and CV                  Direct            Cross-         Direct
 4                                                                 Examination        Examination   Examination
 5
     Susan Athey,               See expert disclosure served      1 hour /            1.5 hours     30 minutes      Live, in person
 6   Economics of               February 16, 2021
     Technology Professor,                                        40 minutes
 7   Stanford University                                          (with potential
     Graduate School of                                           written direct)
 8
     Business*
 9
     Ned S. Barnes,             See expert disclosure served      30 minutes /        1 hour        20 minutes      Live, in person
10   Managing Director,         February 16, 2021
     Berkeley Research                                            15 minutes
11                                                                (with potential
     Group*
12                                                                written direct)

13   Michael I. Cragg,          See expert disclosure served      1 hour and 30       1 hour        20 minutes      Live, in person
     Principal and Chairman,    March 15, 2021                    minutes /
14   The Brattle Group*
                                                                  1 hour (with
15
                                                                  potential written
16                                                                direct)
17
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                                       EPIC GAMES, INC.’S TENTATIVE TRIAL WITNESS LIST
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            Witness              Summary of Theory and           Estimated          Estimated     Estimated        Appearance
 1
                                  Conclusions and Bases          Length of          Length of    Length of Re-
 2                                  Therefor and CV                Direct            Cross-         Direct
                                                                Examination        Examination   Examination
 3
     David Evans, Chairman,    See expert disclosures served   5 hours /           4.5 hours     1 hour          Live, in person
 4
     Global Economics          February 16, 2021 and
 5   Group*                    March 15, 2021                  3 hours (with
                                                               potential written
 6                                                             direct)
 7   Wenke Lee, Chair,         See expert disclosures served   1 hour /            1 hour        20 minutes      Live, in person
 8   College of Computing,     February 16, 2021 and
     Georgia Institute of      March 15, 2021                  30 minutes
 9   Technology*                                               (with potential
                                                               written direct)
10
     Nancy A. Mathiowetz,      See expert disclosure served    40 minutes /        1 hour        20 minutes      Live, in person
11
     Professor Emerita,        March 15, 2021
12   Department of                                             20 minutes
     Sociology, the                                            (with potential
13   University of                                             written direct)
     Wisconsin-Milwaukee*
14
15   James Mickens,            See expert disclosure served    1 hour 30           1 hour        20 minutes      Intends to appear
     Professor of Computer     February 16, 2021               minutes /                                         live and in
16   Science, Harvard                                                                                            person, but may
     University*                                               1 hour 30                                         request leave to
17                                                             minutes (with                                     appear remotely.
18                                                             potential written
                                                               direct)
19
20
                                      EPIC GAMES, INC.’S TENTATIVE TRIAL WITNESS LIST
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            Witness              Summary of Theory and          Estimated        Estimated     Estimated        Appearance
 1
                                  Conclusions and Bases         Length of        Length of    Length of Re-
 2                                  Therefor and CV               Direct          Cross-         Direct
                                                               Examination      Examination   Examination
 3
     Peter E. Rossi, Professor See expert disclosure served   40 minutes /      1 hour        20 minutes      Live, in person
 4
     of Marketing,             February 16, 2021
 5   Economics and                                            15 minutes
     Statistics, UCLA*                                        (with potential
 6                                                            written direct)
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                                      EPIC GAMES, INC.’S TENTATIVE TRIAL WITNESS LIST
21                                             Case No. 4:20-cv-05640-YGR-TSH
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